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IN THE UNITED sTATEs DisTRICT CoURT
FoR THE WESTERN DISTRICT oF TENNESSE@;§ 31 j 1 l 15 _,1_-1 !1; 3 g
wESTERN I)IVISION ` `

FITEC INTERNATIONAL, INC.,
a Tennessee Corporation

 

Plaintiff
vs. Civil Action No. 2:04CV2326-D/V

PAUL C. ARDERN, an individual
resident of the State of Florida,

.]URY DEMANDED

Defendant
vs.

FITEC INTERNATIONAL, INC.,
a Tennessee Corporation

Counter-Defendant

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SECOND AMENDED JOINT SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held on July 22, 2004. Present
were John r. Branson, counsel for Plaintiff, and Todd B. Muirah, counsel for Defendant.
Pursuant to an Order Granting Joint Motion for Modification of Scheduling Order, the following
dates were established as the final dates for:
lnitial Disclosures: Pursuant to Fed.R.Civ.P. 26(a)(l): August 30, 2004.

Joining Parties: September 30, 2004.
Amended Pleadings: May l, 2005.

lnitial Motions to Dismiss: October 29 2004.

 

Completing All Discovery: November 15 2005.

 

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(a) Document Production: June 17 2005.

 

(b) Interrogatories and Requests for Admissions: June l'/', 2005.
(c) Depositions of Fact Witnesses: August 30, 2005.
(d) Expert Witness Disclosure (Rule 26):
l) Disclosures of Plaintiff’s Rule 26 Expert Information: September 15, 2005.

2) Disclosures of Defendant’s Rule 26 Expert Information: October 15 2005.

 

(e) Expert Witness Depositions: November 15 2005.

 

Filing Dispositive Motions: November 30 2005.

 

OTHER RELEVANT MATTERS:

This case is set for jury trial, and the trial is expected to last 4 to 5 days. The presiding
Judge will set the pretrial conference date and trial date.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery

The parties are reminded that pursuant to Local Rule l l(a)(l)(A), all motions, except
motions pursuant to Fed.R.Civ.P. l2, 56, 59 and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may tile an additional reply, however, without leave of the Court. lt` a party believes that a reply
is necessary, it shall tile a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons i`or which a reply is required.

The parties have not consented to trial before the Magistrate Judge.

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This order has been entered after consultation with trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this order will not be modified or

extended.

lT lS SO ORDERED.

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JUDGE

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troDD`B MURRAH (#1523
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Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:04-CV-02326 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

